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                       IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF COLUMBIA


    NATIONAL ASSOCIATION FOR THE
    ADVANCEMENT OF COLORED PEOPLE,


                    Plaintiff,
                                                   Civil Docket No. 20-cv-2295 (EGS)
         v.

    UNITED STATES POSTAL SERVICE, et
    al.,


                    Defendants.


          NOTICE PURSUANT TO THE COURT’S OCTOBER 30, 2020 ORDER

        Pursuant to the Court’s October 30, 2020 Order, Defendants provide the Court with a

document explaining, for each USPS District whose Election Mail processing scores for Inbound

Ballots were below 90 percent on October 31, 2020 and November 2, 2020, 1 or below 80 percent

on November 2, 2020, Defendants’ understanding, based on all reasonably available information,

of potential explanations for the current level of service and any corrective measures that are

now being implemented. See Exhibit 1.




1
 Because Sunday is a non-delivery day, processing scores are not available for Sunday,
November 1.
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Dated: November 3, 2020
                            Respectfully submitted,

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                            Acting Assistant Attorney General

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                            Assistant Director, Federal Programs Branch

                            /s/ John Robinson
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